      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 1 of 10 PageID #:1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRIAN SIDNEY,                          )
                                       )
                           Plaintiff,  )
                                       )
       v.                              )                      Case No.
                                       )
LUIS ALEJO, CITY OF CHICAGO,           )                      Judge:
a Municipal Corporation, and           )
ROBERT MORRIS UNIVERSITY ILLINOIS, )                          JURY TRIAL DEMANDED
a Not-For-Profit Corporation,          )
                                       )
                           Defendants. )


                                 CIVIL RIGHTS COMPLAINT

       Plaintiff, BRIAN SIDNEY, by and through his attorney, James L. Bowers, and

complaining against defendants, states as follows:


                                      NATURE OF CLAIM

       1.      This action arises under the United States Constitution and the laws of the United

States, specifically the Civil Rights Act of 1871 (42 U.S.C. § 1983), to redress deprivations of

the civil rights of plaintiff through acts and/or omissions of defendants committed under color of

law. Specifically here, defendants deprived plaintiff of his rights under the Fourth and

Fourteenth Amendments to the United States Constitution.

       2.      Additionally, plaintiff relies upon the Court’s supplemental jurisdiction to assert

the Illinois state claims of malicious prosecution, intentional infliction of emotional distress and

indemnification.




                                                  1
       Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 2 of 10 PageID #:2




                                     JURISDICTION AND VENUE

        3.          Jurisdiction is based upon 28 U.S.C. §§ 1343, 1331, and 1367.

        4.          Venue lies in the United States District Court, Northern District of Illinois,

pursuant to 28 U.S.C. § 1391, because all events or omissions giving rise to this claim occurred

in this district.

                                                 PARTIES

        5.          Plaintiff BRIAN SIDNEY was and is a citizen of the United States and resides

within the jurisdiction of the Court.

        6.          Defendant CITY OF CHICAGO is a municipal corporation, duly organized under

the laws of the State of Illinois. Defendant CITY OF CHICAGO maintained, managed, and/or

operated the Chicago Police Department.

        7.          Defendant ROBERT MORRIS UNIVERSITY ILLINOIS is an Illinois Not-for-

Profit Corporation and educational institution located at 401 S. State Street, Chicago, Illinois.

        8.          Defendant LUIS ALEJO was a police officer employed by the Chicago Police

Department and was also a private security guard employed by ROBERT MORRIS

UNIVERSITY ILLINOIS. At all times Defendant LUIS ALEJO was acting under color of state

law and as the employee or agent of both the CITY OF CHICAGO and ROBERT MORRIS

UNIVERSITY ILLINOIS. He is being sued in his individual capacity.

        9.          By virtue of its actions as a willful participant in joint activity with the Chicago

Police Department and its employees, Defendant ROBERT MORRIS UNIVERSITY ILLINOIS

was acting under color of state law.




                                                       2
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 3 of 10 PageID #:3




                                   STATEMENT OF FACTS

       10.     On June 25, 2014, Plaintiff BRIAN SIDNEYwas fifty-one (51) years of age, an

alumnus of ROBERT MORRIS UNIVERSITY ILLINOIS and a recent graduate of DePaul

University.

       11.     On June 25, 2014, Plaintiff was lawfully in the library of Defendant ROBERT

MORRIS UNIVERSITY ILLINOIS, located at 401 S. State Street, Chicago, Illinois, doing

research for a paper connected with his recent degree from DePaul University.

       12.     On June 25, 2014, the official hours of the ROBERT MORRIS UNIVERSITY

ILLINOIS library were from 7:30 a.m. to 10:00 p.m.

       13.     At approximately 9:30 p.m. on June 25, 2014, as Plaintiff was preparing to leave

the library, he was confronted by an unknown individual who Plaintiff later learned to be

Defendant LUIS ALEJO.

       14.     Without identifying himself, Defendant LUIS ALEJO demanded to see Plaintiff’s

ROBERT MORRIS UNIVERSITY ILLINOIS Identification Card.

       15.     As Plaintiff was pulling his Identification Card out of his pocket, Defendant LUIS

ALEJO forcibly grabbed the Card out of Plaintiff’s hand.

       16.     When Plaintiff objected to the unexpected rough and disrespectful treatment,

Defendant LUIS ALEJO told Plaintiff that his library privileges were being revoked and his

Identification Card confiscated.

       17.     Defendant LUIS ALEJO further told Plaintiff that he was a police officer and that

he had authority to confiscate the Identification Card.




                                                 3
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 4 of 10 PageID #:4




       18.     Defendant LUIS ALEJO, who was not wearing a name tag, refused to provide his

name to Plaintiff and told Plaintiff that he would be arrested if he did not leave the building

immediately.

       19.     Shortly thereafter, two as yet unidentified uniformed police officers employed by

the Chicago Police Department arrived at ROBERT MORRIS UNIVERSITY ILLINOIS.

       20.     The aforesaid officers told Defendant LUIS ALEJO to identify himself to

Plaintiff, and, after he complied, the officers communicated to Plaintiff that he was free to leave,

at which time Plaintiff voluntarily left the building.

       21.     As he was exiting the building, Plaintiff observed Defendant LUIS ALEJO having

an animated conversation with the two as yet unidentified officers of the Chicago Police

Department.

       22.     The two as yet unidentified officers then also exited the building and, while

Plaintiff was on a public sidewalk, informed Plaintiff that he was being placed under arrest for

the crime of trespass.

       23.     Plaintiff was then handcuffed and taken to the police station, where he was held

for approximately five hours, until the early morning, when he was released from custody.

       24.     On February 7, 2015, Plaintiff’s criminal case proceeded to a bench trial before

the Honorable Clarence L. Burch of the Circuit Court of Cook County.

       25.     The only witness called by the State to testify against Plaintiff was Defendant

LUIS ALEJO.

       26.     At the conclusion of the trial, Plaintiff was found not guilty of all criminal

charges.




                                                  4
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 5 of 10 PageID #:5




        27.     By reason of the above-described acts and omissions of the Defendants, Plaintiff

sustained a loss of liberty, physical and emotional pain and suffering, humiliation, anxiety,

depression, fear and other indignities, all to Plaintiff’s damage.

        28.     The aforementioned acts of the Defendants were willful, wanton, malicious,

oppressive, and done with reckless indifference to and/or callous disregard for Plaintiff’s rights

and therefore justify the awarding of exemplary and punitive damages.

        29.     By reason of the above-described acts and omissions , Plaintiff was required to

retain an attorney to institute, prosecute and render legal assistance to him in the within action, so

that he might vindicate the loss and impairment of his rights. By reason thereof, Plaintiff

requests payment by the Defendants of a reasonable sum for attorneys’ fees pursuant to 42

U.S.C.§ 1988, the Equal Access to Justice Act, or any other provision set by law.


                                             COUNT I

    Plaintiff Against Defendants LUIS ALEJO and ROBERT MORRIS UNIVERSITY
                            for Illegal Stop, Seizure and Arrest

        30.     Plaintiff incorporates and realleges paragraphs 1 – 29, as though set forth herein

in their entirety.

        31.     The stop, seizure and arrest of Plaintiff for violation of the State crime of trespass

was without probable cause.

        32.     The actions of the Defendant LUIS ALEJO in conspiring to charge Plaintiff with

the crime of trespass, charging Plaintiff with the crime of trespass, failing to investigate the

truthfulness of said allegations, and approving probable cause for the arrest of Plaintiff for the

crime of trespass were arbitrary, unreasonable and without legal cause and were committed

under color of law.



                                                   5
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 6 of 10 PageID #:6




        33.     The actions of Defendant LUIS ALEJO were taken under color of law and within

the scope of his employment by both the Chicago Police Department and Defendant ROBERT

MORRIS UNIVERSITY ILLINOIS.

        34.     Defendant ROBERT MORRIS UNIVERSITY ILLINOIS is liable to Plaintiff

under the theory of respondeat superior.

        35.     The actions of said Defendants violated the Fourth and Fourteenth Amendments

to the United States Constitution. Therefore, Defendants LUIS ALEJO and ROBERT MORRIS

UNIVERSITY ILLINIOIS are liable to plaintiff pursuant to 42 U.S.C. §1983.


                                            COUNT II

   MONELL Claim Against Defendant CITY OF CHICAGO, a Municipal Corporation

        36.     Plaintiff incorporates and realleges paragraphs 1 – 29, as though set forth herein

in their entirety.

        37.     At all times material to this Complaint, there existed within the CITY OF

CHICAGO and the Chicago Police Department a practice, policy or custom of police officers

employed by the CITY OF CHICAGO of supporting the factual allegations made by each other

in connection with the arrest of an individual, regardless of the known falsity of said allegations.

        38.     The actions of the individual Chicago Police Officers, as alleged in this

Complaint, involved recurring situations and were not isolated instances of failure to act.

        39.     The practice, policy or custom described above was widespread, permanent, and

well-settled and was known to the municipal policy-makers of the Defendant CITY OF

CHICAGO and the Chicago Police Department.




                                                  6
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 7 of 10 PageID #:7




        40.     By their inaction and failure to correct the above-described practice, policy and

procedure, the municipal policy makers tacitly approved of, and thus indirectly authorized, the

type of misconduct that Plaintiff complains of herein.

        41.     The actions of the individual Chicago Police Officers in arresting, charging and

prosecuting Plaintiff were taken pursuant to or as a result of the aforesaid practice, policy or

custom of the Defendant CITY OF CHICAGO and the Chicago Police Department and caused

the violation of Plaintiff’s Fourth and Fourteenth Amendment rights, as alleged in this

Complaint.

        42.     The actions of Defendant CITY OF CHICAGO violated the Fourth and

Fourteenth Amendments to the United States Constitution. Therefore, Defendant CITY OF

CHICAGO is liable to plaintiff pursuant to 42 U.S.C. §1983.


                                            COUNT III

    Plaintiff Against LUIS ALEJO, the CITY OF CHICAGO and ROBERT MORRIS
   UNIVERSITY ILLINOIS for the State Supplemental Claim of Malicious Prosecution

        43.     Plaintiff incorporates and realleges paragraphs 1 – 29, as though set forth herein

in their entirety.

        44.     The Defendant LUIS ALEJO maliciously caused criminal charges to be filed and

prosecuted against Plaintiff for the crime of trespass.

        45.     There was no probable cause for the institution of trespass charges against

Plaintiff.

        46.     There was no probable cause for the continuation of the prosecution of Plaintiff.




                                                  7
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 8 of 10 PageID #:8




        47.     The Defendant LUIS ALEJO facilitated this malicious prosecution by creating

and approving false police reports, false written criminal charges, and false evidence, and

making false statements under oath.

        48.     Plaintiff was wrongfully incarcerated as a direct result of the institution and

prosecution of the criminal charges.

        49.     Plaintiff was injured emotionally, economically, and otherwise from the loss of

liberty and related rights.

        50.     The criminal proceedings were terminated in Plaintiff’s favor by a finding of not

guilty in a bench trial on February 7, 2015, within a year of the filing of this action.

        51.     Defendant LUIS ALEJO is liable to Plaintiff under Illinois law for the state

supplemental claim of malicious prosecution.

        52.     Defendants CITY OF CHICAGO and ROBERT MORRIS UNIVESITY

ILLINOIS are liable for the acts of their employees or agents pursuant to the doctrine of

respondent superior.

                                            COUNT IV

   Plaintiff Against LUIS ALEJO, the CITY OF CHICAGO and ROBERT MORRIS
  UNIVERSITY ILLINOIS for the State Supplemental Claim of Intentional Infliction of
                                 Emotional Distress

        53.     Plaintiff incorporates and realleges paragraphs 1 – 29, as though set forth herein

in their entirety.

        54.     The acts and conduct of Defendant LUIS ALEJO as described herein were

extreme and outrageous. The Defendant intended to inflict severe emotional distress or knew

that there was a high probability that his conduct would do so.




                                                  8
      Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 9 of 10 PageID #:9




          55.   The Defendant’s conduct did, in fact, cause Plaintiff severe emotional distress by

conduct that was undertaken with malice, willfulness and reckless indifference to the rights of

others.

          56.   Defendant LUIS ALEJO is liable to Plaintiff under Illinois law for the state

supplemental claim of intentional infliction of emotional distress.

          57.   Defendants CITY OF CHICAGO and ROBERT MORRIS UNIVERSITY

ILLINOIS are liable for the acts of their employees or agents pursuant to the doctrine of

respondent superior.

                                             COUNT V

                       Plaintiff Against Defendant CITY OF CHICAGO
                           For Indemnification (735 ILCS 10/9-102)

          58.   Plaintiff incorporates and realleges paragraphs 1 – 57, as though set forth herein

in their entirety.

          59.   In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities.

          60.   Defendant LUIS ALEJO was an employee of the CITY OF CHICAGO and acted

within the scope of his employment in committing the misconduct described herein.

          61.   Defendant CITY OF CHICAGO is thus liable to Plaintiff under the theory of

indemnification.

          WHEREFORE, plaintiff, BRIAN SIDNEY, by and through his attorney, James L.

Bowers, requests judgment as follows against the defendants, LUIS ALEJO, CITY OF

CHICAGO, and ROBERT MORRIS UNIVEERSITY ILLINOIS on each and every claim:

          a.    That defendants be required to pay plaintiff general damages, including lost
                income and emotional distress, in a sum to be ascertained at a trial of this matter;



                                                  9
    Case: 1:16-cv-02041 Document #: 1 Filed: 02/08/16 Page 10 of 10 PageID #:10




       b.     That defendants be required to pay plaintiff special damages;

       c.     That defendants be required to pay the plaintiffs attorneys’ fees pursuant to 42
              U.S.C. §1988, the Equal Access to Justice Act, or any other applicable provision;

       d.     That defendants, except CITY OF CHICAGO, be required to pay plaintiff
              exemplary and punitive damages;

       e.     That defendants be required to pay plaintiff costs of the suit herein incurred, and;

       f.     That plaintiffs be granted such other and further relief as this Court may deem just
              and proper.


PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



Dated: February 8, 2016                                     ____/s/__James L. Bowers_______
                                                                      James L. Bowers


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                                               10
